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                     UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN

Tamiko Conway, on behalf of herself
                                  ) Case No:
and others similarly situated,    )
                                  ) CLASS ACTION COMPLAINT
     Plaintiff,                   )
                                  ) JURY TRIAL DEMANDED
     v.                           )
                                  )
GC Services, LP,                  )
                                  )
      Defendant.                  )
_________________________________ )

                                Nature of this Action

      1.     Tamiko Conway (“Plaintiff”) brings this class action against GC

Services, LP (“Defendant”) under the Telephone Consumer Protection Act

(“TCPA”), 47 U.S.C. § 227.

      2.     Upon information and good faith belief, Defendant routinely violates

47 U.S.C. § 227(b)(1)(A)(iii) by using an artificial or prerecorded voice in

connection with non-emergency calls it places to telephone numbers assigned to a

cellular telephone service, without prior express consent.

                               Jurisdiction and Venue

      3.     This Court has subject matter jurisdiction under 47 U.S.C. § 227(b)(3),

and 28 U.S.C. § 1331.

      4.     Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b) as a

substantial portion of the events giving rise to this action occurred in this district.

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        5.    For example, Defendant directed artificial or prerecorded voice

messages to Plaintiff’s cellular telephone in this district, and Plaintiff received

Defendant’s artificial or prerecorded voice messages in this district.

                                         Parties

        6.    Plaintiff is a natural person who at relevant times resided in Detroit,

Michigan.

        7.    Plaintiff is “consumer” as defined by 15 U.S.C. § 1692a(3).

        8.    Defendant is a “Business Process Outsourcing” company based in

Houston, Texas.1

                                 Factual Allegations

        9.    Plaintiff is, and has been at all times relevant to this action, the regular

and sole user of her cellular telephone number—(313)-624-XXXX.

        10.   For years Plaintiff has received on telephone number (313)-624-XXXX

sporadic—but numerous—wrong number telephone calls seeking to collect alleged

debts from a “Davonte Portis.”

        11.   Beginning on or about February 2022, Defendant began placing calls

to telephone number (313)-624-XXXX intending to reach someone named Davonte

Portis.




1
        https://gcservices.info/core-services/ (last visited May 4, 2022).

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      12.    On at least two occasions, in response to Defendant’s calls to telephone

number (313)-624-XXXX, Plaintiff answered a call from Defendant and was greeted

with an artificial or prerecorded voice informing Plaintiff that Defendant was calling

to collect upon an alleged debt owed by a person named Davonte Portis.

      13.    On each of these occasions Plaintiff was unable to speak to a live human

representative of Defendant.

      14.    Following one of Defendant’s telephone calls to telephone number

(313)-624-XXXX, Plaintiff called Defendant back and informed Defendant that she

did not know Davonte Portis, informed Defendant that it was placing calls and

delivering voice messages to a wrong number, and instructed Defendant to stop

placing calls to her telephone number.

      15.    However, on at least one occasion thereafter Defendant placed a

telephone call to telephone number (313)-624-XXXX, in connection with which it

used an artificial or prerecorded voice.

      16.    Plaintiff does not know Davonte Portis.

      17.    Plaintiff does not have an account in collections with Defendant.

      18.    Plaintiff does not, nor did, owe a debt in default to Defendant or one of

Defendant’s clients.

      19.    Plaintiff does not, nor did, have any business relationship with

Defendant.


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      20.    Plaintiff does not, nor did, owe any money to Defendant.

      21.    Plaintiff did not provide telephone number (313)-624-XXXX to

Defendant.

      22.    Plaintiff did not give Defendant prior express consent to place calls, in

connection with which it used an artificial or prerecorded voice, to telephone number

(313)-624-XXXX.

      23.    Defendant placed its calls and delivered artificial or prerecorded voice

messages to telephone number (313)-624-XXXX in an effort to reach a third party,

not related to Plaintiff in any personal or professional manner.

      24.    Defendant placed its calls and delivered artificial or prerecorded voice

messages to telephone number (313)-624-XXXX for non-emergency purposes.

      25.    Defendant placed its calls and delivered artificial or prerecorded voice

messages to telephone number (313)-624-XXXX voluntarily.

      26.    Defendant placed its calls and delivered artificial or prerecorded voice

messages to telephone number (313)-624-XXXX under its own free will.

      27.    Defendant had knowledge that it was using an artificial or prerecorded

voice in connection with the calls it placed to telephone number (313)-624-XXXX.

      28.    Plaintiff suffered actual harm as a result Defendant’s calls and artificial

or prerecorded voice messages in that she suffered an invasion of privacy, an

intrusion into her life, and a private nuisance.


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       29.   Upon information and good faith belief, Defendant, as a matter of

pattern and practice, uses an artificial or prerecorded voice in connection with calls

it places to telephone numbers assigned to a cellular telephone service, absent prior

express consent.

                              Class Action Allegations

       30.   Plaintiff brings this action under Federal Rule of Civil Procedure 23,

and as a representative of the following class:

       All persons throughout the United States (1) to whom GC Services, LP
       placed, or caused to be placed, a call, (2) directed to a number assigned
       to a cellular telephone service, but not assigned to a person with an
       account in collections with GC Services, LP, (3) in connection with
       which GC Services, LP used an artificial or prerecorded voice, (4) from
       four years preceding the date of this class action complaint through the
       date of class certification.

       31.   Excluded from the class is Defendant, Defendant’s officers and

directors, members of their immediate families and their legal representatives, heirs,

successors, or assigns, and any entity in which Defendant has or had a controlling

interest.

       32.   Upon information and belief, the members of the class are so numerous

that joinder of all of them is impracticable.

       33.   The exact number of the members of the class is unknown to Plaintiff

at this time, and can be determined only through appropriate discovery.

       34.   The class is ascertainable because the class is defined by reference to


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objective criteria.

       35.      In addition, the members of the class are identifiable in that, upon

information and belief, their telephone numbers, names, and addresses can be

identified in business records maintained by Defendant and by third parties.

       36.      Plaintiff’s claims are typical of the claims of the members of the class.

       37.      As it did for all members of the class, Defendant placed calls to

Plaintiff’s cellular telephone number in connection with which it used an artificial

or prerecorded voice.

       38.      Plaintiff’s claims, and the claims of the members of the class, originate

from the same conduct, practice, and procedure on the part of Defendant.

       39.      Plaintiff’s claims are based on the same theories as are the claims of the

members of the class.

       40.      Plaintiff suffered the same injuries as the members of the class.

       41.      Plaintiff will fairly and adequately protect the interests of the members

of the class.

       42.      Plaintiff’s interests in this matter are not directly or irrevocably

antagonistic to the interests of the members of the class.

       43.      Plaintiff will vigorously pursue the claims of the members of the class.

       44.      Plaintiff has retained counsel experienced and competent in class action

litigation.


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      45.      Plaintiff’s counsel will vigorously pursue this matter.

      46.      Plaintiff’s counsel will assert, protect, and otherwise represent the

members of the class.

      47.      The questions of law and fact common to the members of the class

predominate over questions that may affect individual members of the class.

      48.      Issues of law and fact common to all members of the class are:

            a. Defendant’s conduct, pattern, and practice as it pertains to dialing

               wrong or reassigned cellular telephone numbers;

            b. Defendant’s conduct, pattern, and practice as it pertains to placing calls

               in connection with which it used an artificial or prerecorded voice to

               wrong or reassigned cellular telephone numbers;

            c. Defendant’s use of an artificial or prerecorded voice;

            d. Defendant’s violations of the TCPA;

            e. The availability of statutory penalties.

      49.      A class action is superior to all other available methods for the fair and

efficient adjudication of this matter.

      50.      If brought and prosecuted individually, the claims of the members of

the class would require proof of the same material and substantive facts.




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      51.    The pursuit of separate actions by individual members of the class

would, as a practical matter, be dispositive of the interests of other members of the

class, and could substantially impair or impede their ability to protect their interests.

      52.    The pursuit of separate actions by individual members of the class could

create a risk of inconsistent or varying adjudications, which might establish

incompatible standards of conduct for Defendant.

      53.    These varying adjudications and incompatible standards of conduct, in

connection with presentation of the same essential facts, proof, and legal theories,

could also create and allow the existence of inconsistent and incompatible rights

within the class.

      54.    The damages suffered by each individual member of the class may be

relatively small, thus, the expense and burden to litigate each of their claims

individually make it difficult for the members of the class to redress the wrongs done

to them.

      55.    The pursuit of Plaintiff’s claims, and the claims of the members of the

class, in one forum will achieve efficiency and promote judicial economy.

      56.    There will be little difficulty in the management of this action as a class

action.

      57.    Defendant has acted or refused to act on grounds generally applicable

to the members of the class, making final declaratory or injunctive relief appropriate.


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                                        Count I
                        Violation of 47 U.S.C. § 227(b)(1)(A)(iii)

       58.      Plaintiff repeats and re-alleges each and every factual allegation

contained in paragraphs 1-58.

       59.      Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii) by using an artificial

or prerecorded voice in connection with calls it placed to Plaintiff’s cellular

telephone number and the cellular telephone numbers of the members of the class,

without consent.

       60.      As a result of Defendant’s violations of 47 U.S.C. § 227(b)(1)(A)(iii),

Plaintiff and the members of the class are entitled to damages in an amount to be

proven at trial.

                                     Prayer for Relief

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Determining that this action is a proper class action;

             b) Designating Plaintiff as a representative of the class under Federal Rule

                of Civil Procedure 23;

             c) Designating Plaintiff’s counsel as counsel for the class under Federal

                Rule of Civil Procedure 23;

             d) Adjudging and declaring that Defendant violated 47 U.S.C. §

                227(b)(1)(A)(iii);




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          e) Enjoining Defendant from continuing its violative behavior, including

             continuing to place calls to Plaintiff’s cellular telephone number, and

             to the cellular telephone numbers of members of the c lass, in

             connection with which it uses an artificial or prerecorded voice;

          f) Awarding Plaintiff and the members of the class damages under 47

             U.S.C. § 227(b)(3)(B);

          g) Awarding Plaintiff and the members of the class treble damages under

             47 U.S.C. § 227(b)(3);

          h) Awarding Plaintiff and the class reasonable attorneys’ fees, costs, and

             expenses under Rule 23 of the Federal Rules of Civil Procedure;

          i) Awarding Plaintiff and the members of the class any pre-judgment and

             post-judgment interest as may be allowed under the law; and

          j) Awarding such other and further relief as the Court may deem just and

             proper.

                               Demand for Jury Trial

      Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial

by jury of any and all triable issues.


      Date: May 17, 2022                 /s/ Alexander D. Kruzyk
                                         Alexander D. Kruzyk
                                         Aaron D. Radbil
                                         Greenwald Davidson Radbil PLLC
                                         5550 Glades Road

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                                   Suite 500
                                   Boca Raton, FL 33431
                                   Tel: (512) 425-4034
                                   akruzyk@gdrlawfirm.com
                                   aradbil@gdrlawfirm.com

                                   Andrew Campbell
                                   Attorney at Law
                                   5080 W. Bristol Road Suite 4
                                   Flint, MI 48507
                                   Tel: (810) 232-4344
                                   michiganbk@gmail.com

                                   Counsel for Plaintiff and the proposed class




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